12/19/23, 10:32 AM                                                         Details
                      Case 1:23-cr-00022-SAG          Document 73-3            Filed 05/26/25       Page 1 of 9




             Case Information

             00623009U2 | The State of Maryland vs RIGGS, ROBERT WINFIELD I

             Case Number                          Court
             00623009U2                           Frederick
             File Date                            Case Type                           Case Status
             11/13/1993                           Criminal                            Closed




             Party

             Plaintiff                                                                Active Attorneys 
             State of Maryland                                                        Lead Attorney
                                                                                      State's Attorney, Frederick
                                                                                      County




             Defendant                                                                Active Attorneys 
             RIGGS, ROBERT WINFIELD I                                                 Lead Attorney
             DOB                                                                      GROVE, DAVID MATTHEW
             03/17/1960                                                               Retained

             Gender
             Male

             Race
             White

             Height
             5' 7"

             Weight
             145 lbs

             State ID
             MD 0000000000

             Address
             11522 HARP HILL ROAD
             MYERSVILLE MD 21773-0000

https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                        1/9
12/19/23, 10:32 AM                                                          Details
                     Case 1:23-cr-00022-SAG           Document 73-3            Filed 05/26/25       Page 2 of 9



             Complainant
             RIGGS, KAREN REBECCA

             Address
             11522 HARP HILL ROAD
             MYERSVILLE MD 21773-0000




             Charge

             Charges
             RIGGS, ROBERT WINFIELD I


                          Description                             Statute        Level                  Date

                     1    ASSAULT                                CL              Misdemeanor            11/13/1993

                     2    BATTERY                                CL              Misdemeanor            11/13/1993

                     3    DEADLY WEAPON-INT/INJURE               27.36           Misdemeanor            11/13/1993

                     4    ASSAULT                                CL              Misdemeanor            11/13/1993

                     5    BATTERY                                CL              Misdemeanor            11/13/1993

                     6    FALSE IMPRISONMENT                     CL              Misdemeanor            11/13/1993

                     7    SEX OFF 1ST D: FRCE/THREAT:ATT         CL              Misdemeanor            11/13/1993

                     8    SEX OFF 1ST D: FRCE/THREAT             27.464          Felony Circuit Court   11/13/1993

                     9    SEX OFF 1D                             CL              Misdemeanor            11/13/1993
                          FORCE/SUFFOCATE:ATT

                     10   SEX OFF 1D FORCE/SUFFOCATE             27.464          Felony Circuit Court   11/13/1993

                     11   SX OFFNS-2ND DEGR:FORCE:ATT            27.464A         Felony Circuit Court   11/13/1993

                     12   SEX OFFENSE-2ND D:FORCE                27.464A         Felony Circuit Court   11/13/1993

                     13   ASSAULT                                CL              Misdemeanor            11/13/1993

                     14   BATTERY                                CL              Misdemeanor            11/13/1993

                     15   MAL DEST PROP/VALU - $300              27.111          Misdemeanor            11/13/1993




https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                         2/9
12/19/23, 10:32 AM                                                         Details
                     Case 1:23-cr-00022-SAG           Document 73-3            Filed 05/26/25   Page 3 of 9




             Bond Settings


                     Setting Date

                     11/14/1993

                     11/15/1993

                     11/24/1993




             Disposition Events


             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                1             ASSAULT                                    Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                2             BATTERY                                   Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                3       DEADLY WEAPON-INT/INJURE                                           Other Plea

https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                  3/9
12/19/23, 10:32 AM                                                         Details
                     Case 1:23-cr-00022-SAG           Document 73-3            Filed 05/26/25   Page 4 of 9


             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                4             ASSAULT                                    Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                5             BATTERY                                   Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                6        FALSE IMPRISONMENT                                            Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                7       SEX OFF 1ST D: FRCE/THREAT:ATT                                      Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                8       SEX OFF 1ST D: FRCE/THREAT                                         Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                9       SEX OFF 1D FORCE/SUFFOCATE:ATT                                      Other Plea




             12/23/1993 Plea 

https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                  4/9
12/19/23, 10:32 AM                                                         Details
                     Case 1:23-cr-00022-SAG           Document 73-3            Filed 05/26/25      Page 5 of 9
             Judicial Officer
             Roberts, William Milnor

                10         SEX OFF 1D FORCE/SUFFOCATE                                          Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                11         SX OFFNS-2ND DEGR:FORCE:ATT                                          Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                12          SEX OFFENSE-2ND D:FORCE                                           Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                13                 ASSAULT                                 Other Plea




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                14                      BATTERY                                      Guilty




             12/23/1993 Plea 


             Judicial Officer
             Roberts, William Milnor

                15          MAL DEST PROP/VALU - $300                                         Other Plea




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor



https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                     5/9
12/19/23, 10:32 AM                                                         Details
                     Case 1:23-cr-00022-SAG           Document 73-3            Filed 05/26/25         Page 6 of 9
                1               ASSAULT                           Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                2               BATTERY                          Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                3       DEADLY WEAPON-INT/INJURE                                         Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                4               ASSAULT                           Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                5               BATTERY                          Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                6         FALSE IMPRISONMENT                                         Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                7       SEX OFF 1ST D: FRCE/THREAT:ATT                                     Nolle Prosequi




https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                        6/9
12/19/23, 10:32 AM                                                         Details
                     Case 1:23-cr-00022-SAG           Document 73-3            Filed 05/26/25    Page 7 of 9
             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                8       SEX OFF 1ST D: FRCE/THREAT                                     Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                9       SEX OFF 1D FORCE/SUFFOCATE:ATT                                  Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                10         SEX OFF 1D FORCE/SUFFOCATE                                   Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                11         SX OFFNS-2ND DEGR:FORCE:ATT                                   Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                12         SEX OFFENSE-2ND D:FORCE                                     Nolle Prosequi




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                13              ASSAULT                             Nolle Prosequi




             12/23/1993 Disposition 




https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                   7/9
12/19/23, 10:32 AM                                                         Details
                     Case 1:23-cr-00022-SAG               Document 73-3        Filed 05/26/25       Page 8 of 9
             Judicial Officer
             Roberts, William Milnor

                14                       BATTERY                                     Guilty




             12/23/1993 Disposition 


             Judicial Officer
             Roberts, William Milnor

                15         MAL DEST PROP/VALU - $300                                      Nolle Prosequi




             12/23/1993 Sentence 


                14                   BATTERY                                   Sentence




             Converted Disposition

                     TERM_YRS: 01      TERM_MOS: 00      TERM_DAYS: 000   SUSPENDED_SENT: X       SUSP_TERM_YRS: 01




             Payable To

                 Ordered Date: 12/23/1993

                 Collection Status: Parole & Probation

             Payment Plan

                 Start Date: 12/23/1993

                 Frequency: One Time

                 Grace Days: 0

                 Calculate Using:

                      Payoff Date: 12/23/1995
                 Initial Payment Amount:

                    No Initial Payment
                 Final Payment Amount:

                      No Final Payment




https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                          8/9
12/19/23, 10:32 AM                                                         Details
                     Case 1:23-cr-00022-SAG           Document 73-3            Filed 05/26/25   Page 9 of 9




             Events and Hearings


                11/13/1993 Warrant Issued


                11/14/1993 Warrant/Writ Served


                11/14/1993 Initial Appearance


                11/14/1993 Committed


                11/15/1993 Bail Review Held


                11/15/1993 Committed


                11/24/1993 Bail Review Held




             Financial

             No financial information exists for this case.




https://mdecportal.courts.state.md.us/MDODYSSEYPORTAL/Home/WorkspaceMode?p=0                                  9/9
